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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR243
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
JAMARR HOLIDAY,                               )
                                              )
              Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 140). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 15 (report of investigative information) and 48 (prior

conviction). Although framed as an objection to ¶¶ 43-54, the Defendant is moving for a

downward departure based on over statement of criminal history.

¶ 15 - Report of Investigative Information

       This paragraph recites information found in the government’s file. The Court is not

at liberty to change this information, and the objection is denied.

¶ 48 - Prior Conviction

       The Defendant argues that this offense was part of the instant offense and,

therefore, criminal history points should not be assessed for the offense. The Addendum

reports that the case agent stated that the prior conviction is not part of the instant case.
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       Even if the Defendant were successful in his objection to ¶ 48, he would have 10

criminal history points which would not result in placement in a lower criminal history

category. The objection is denied without prejudice to being reheard if, after other issues

are decided, a successful result would lead to placement in a lower criminal history

category.

¶¶ 43-54 - Downward Departure

       The “objection” to these paragraphs is denied, as the objections duplicate the motion

for downward departure filed simultaneously with these objections.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 140) are denied;

       2.     Otherwise the Court’s tentative findings are that the Presentence Investigation

Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and



                                               2
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      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 25th day of May, 2007.

                                        BY THE COURT:

                                        S/ Laurie Smith Camp
                                        United States District Judge




                                           3
